
695 So.2d 399 (1997)
B.D.A., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 96-3879.
District Court of Appeal of Florida, First District.
May 6, 1997.
Rehearing Denied June 17, 1997.
Nancy A. Daniels, Public Defender, and P. Douglas Brinkmeyer, Assistant Public Defender, Tallahassee, for Appellant.
Robert A. Butterworth, Attorney General, and Giselle Lylen Rivera, Assistant Attorney General, Tallahassee, for Appellee.
ALLEN, Judge.
The juvenile appellant challenges a delinquency disposition by which restitution was ordered. The appellant had made false bomb reports to a school official, necessitating evacuation of the school building. The ordered restitution included an assessment for teacher and administrative staff salaries for each of the days involved, apparently on the theory that this was lost instructional time. However, Section 39.054(1)(f), Florida Statutes, authorizes restitution only as to the damage or loss caused by the child's offense. Here, the teachers and administrative staff continued to perform services and received their regular salaries which would have been paid anyway. Because there was no increased financial burden with regard to the payment of these salaries, this was not damage or loss caused by the offense and such reimbursement may not be compelled as restitution under section 39.054(1)(f). The appealed order is therefore reversed insofar as it includes this assessment as restitution, and the case is remanded.
WEBSTER and MICKLE, JJ., concur.
